 Case 2:24-cv-10744-AB-JC    Document 23-1   Filed 02/28/25     Page 1 of 2 Page ID
                                     #:117


1
2
3
4
5
6
7
8
                            UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                                 Case No. 2:24-cv-10744-AB-JC
11   MICHAEL ARCHER,
12                                               [PROPOSED] ORDER GRANTING
                      Plaintiff,
     v.                                          JOINT STIPULATION TO EXTEND
13                                               DEFENDANTS’ TIME TO
14                                               RESPOND TO FIRST AMENDED
     NBCUNIVERSAL MEDIA, LLC
     and UNIVERSAL PICTURES                      COMPLAINT
15   HOME ENTERTAINMENT LLC
     d/b/a GRUV.COM,                             Complaint Filed: December 13, 2024
16
17                    Defendants.                First Amended Complaint Filed:
18                                               February 29, 2025
19                                               Current response date: March 5, 2025
20
                                                 New response date: March 12, 2025
21
22                                               District Judge: Hon. André Birotte Jr.

23
24
25
26
27
28

                                             1
 Case 2:24-cv-10744-AB-JC     Document 23-1     Filed 02/28/25   Page 2 of 2 Page ID
                                      #:118


1                                         ORDER
2          The Parties’ Joint Stipulation Extending Defendants’ Time to Respond to
3    First Amended Complaint is GRANTED. Defendants’ time to file a responsive
4    pleading in this action shall be extended by 7 days days through and including
5    March 12, 2025.
6
7          IT IS SO ORDERED.
8
9    Dated:                           _______________________________________
10                                    HONORABLE ANDRÉ BIROTTE JR.
                                      UNITED STATES DISTRICT COURT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               2
